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 8                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                               EASTERN DIVISION
10
11   DARCY MARIE MILLER,                         )       CASE NO: EDCV20-01582-MAA
                                     )
12                    Plaintiff,     )                   [PROPOSED] ORDER AWARDING
                                     )                   EAJA FEES
13               v.                  )
                                     )
14   KILOLO KIJAKAZI1, Acting        )
     Commissioner of Social Security )
15   Administration,                 )
                                     )
16                    Defendant.     )
     ______________________________ )
17
18          Based upon the parties’ Stipulation for Award and Payment of Equal Access
19   to Justice Act (EAJA) Fees (“Stipulation”),
20          IT IS ORDERED that Plaintiff shall be awarded attorney fees under the
21   Equal Access to Justice Act, ("EAJA”) in the amount of FOUR THOUSAND
22   FOUR HUNDRED DOLLARS and 00/cents ($4,400.00), as authorized by 28
23   U.S.C. § 2412 (d), and subject to the terms andd conditions of the St
                                                                        Stipulation.
24          DATED: 09/29/2021            __________________________________
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                                                 ______     ___________
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                                                   LE MMARIA
                                                         ARIA A.
                                                               A. AUDERO
                                                                  AUDE
25                                       UNITED STA
                                                 STATES
                                                    ATES MMAGISTRATE
                                                           AGISTRATE JUDGE
26
27
            1
              Kilolo Kijakazi is now the Acting Commissioner of the Social Security Administration.
28   Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be
     substituted for Commissioner Andrew M. Saul as the defendant in this suit. No further action
     needs to be taken to continue this suit by reason of the last sentence of section 205(g) of the
     Social Security Act, 42 U.S.C. § 405(g).

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